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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

City of Galveston,                               §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §     CIVIL ACTION NO. 22-00256
                                                 §     On removal from the Municipal
Sonya Porretto,                                  §     Court of City of Galveston, Texas:
                                                 §     Citation No. 090326
       Defendant.                                §
                                                 §


                          OBJECTION TO MOTION TO REMAND

       Sonya Porretto, Defendant (“Ms. Porretto”) objects to the Motion to Remand

purportedly filed on behalf of the City of Galveston (“City”) and this Objection

incorporates by reference the allegations and argument contained in the Notice of Removal

(ECF 1), the Answer, Affirmative Defenses and Counterclaims (ECF 4), the Motion to

Strike the filings made on behalf of the City (ECF 12), and the Amended Answer,

Affirmative Defenses and Counterclaims (ECF 11). Without waiving any arguments that

the Motion to Remand should be stricken and that the counsel acting for the City lacks

authority and with a full reservation of rights, Ms. Porretto, in the alternative, files this

Objection to the Motion to Remand. For the following reasons, Ms. Porretto requests that

the Court deny the Motion to Remand.




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                   NATURE OF THE MATTER BEFORE THE COURT

       This is a code enforcement action initiated by a City Citation issued to Ms. Porretto

for prosecution in the City’s own municipal court alleging Ms. Porretto did “work” which

violated Sec. 1-7 and Sec. 29-2 of the City Code. Sec. 29-2 is an overbroad ordinance that

includes the dune protection and beach access section of the City Code.

       The Citation on its face when read with the Galveston City Code shows a Federal

question exists -- not the least of which is the violation of Ms. Porretto’s due process and

equal protection rights under the United States Constitution, including but not limited to

the Fourth, Fifth, Eighth and Fourteenth Amendments. In addition, the Citation gives rise

to Counterclaims that the ordinance Sec. 29-2 is unconstitutional and invalid to apply to

Ms. Porretto, as well as a violation of Ms. Porretto’s civil rights. (ECF 4 and 11).

       Over a year before any Citation was issued, Ms. Porretto asserted claims arising in

her Bankruptcy and under Federal law against the City in the first filed case pending before

this Court styled as Sonya Porretto v. The City of Galveston Park Board of Trustees, et al,

Case No. 3:21-cv-00359 (“Adversary Proceeding”). Ms. Porretto’s claims in the Third

Amended Complaint are directly related to Sec. 29-2 which provides that its purpose is to

protect against erosion whereas Ms. Porretto contends in her Third Amended Complaint in

the Adversary Proceeding that the City, Galveston Park Board of Trustees and the General

Land Office have used false data for such ordinances. Ms. Porretto contends that the City

and other defendants have approved, supported and funded actions to improperly use her

beach property during renourishments creating significant damage, flooded her property,

scraping the shoreline and beachfront to create manufactured erosion, etc.


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       Ordinance Sec. 29-2 should be deemed void on its face for several reasons: it is

overbroad, vague, and is based on false information put in the public record by the City

despite the fact that putting false information in the public records is a criminal violation.

Remand in this case would be tantamount to finding that the City and other government

entities are untouchable when they engage in efforts to usurp a person’s valuable property

by regulatory edicts based on false information in the public record which is a criminal

violation and when there is no relationship or tie to any objective goal for the public

interest.

       It is well established as to Ms. Porretto’s beachfront property, the City and other

government entities:

       1) manufactured shoreline data to use against her property rights by alleging her
          property was eroding or accreting less than it actually was accreting;
       2) deliberately used the color of law and power of the government to chill any effort
          to sell or develop the property by continuing to defame her property with
          misrepresentations in public records knowing such representations were false
          and knowing that it is illegal to put false representations in the public record
          under State law; and,
       3) the City also knows that some of the misrepresentations in Sec. 29-2 are
          contradicted by the 2015 Judgment in Ms. Porretto’s favor which was never
          appealed.


       It is also well established that Ms. Porretto has decades of beach maintenance

experience, and has been someone sought out for advice on beach management as were her

father and grandfather before her. Any work she did or had done on her property in the past

two years is consistent with the way that property has been maintained, preserved and

protected for the past 70 years without a Citation. See, ECF 11.




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       If the Citation and counterclaims are remanded it will embolden the City to be even

more egregious in violating Ms. Porretto’s constitutional rights. The proper venue is

Federal Court. The Citation is deficient and an abuse of process on its face. A remand

would endorse the City issuing a bogus Citation as an end-run around this Court’s

jurisdiction in the Adversary Proceeding which has full jurisdiction to deal with

Constitutional issues presented.

       Remand should be denied. Skullduggery aided and abetted by the City’s own City

Attorney/Municipal Chief Prosecutor who, on information and belief, ordered the

Galveston Police Department to issue the Citation to Ms. Porretto in an act of political

oppression under the color of law all while knowing Sec. 29-2 is replete with erroneous

information which itself is a criminal violation, inconsistencies, typos, and needs a “deep

dive” review for further amendments is incorrigible.




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             DISPUTED FACTS IN MOTION TO REMAND

 1. City Alleges the following:




                                                               .




 (ECF 10, p. 5-6). Ms. Porretto denies this allegation. The applicable code provisions

 are Sec. 1-7 and 29-2, not a selective excerpt of Sec. 29-2. Sec. 29-2 in its entirety

 is what is identified on the Citation which would include all the appendixes.

        There is no way for Ms. Porretto to know from the face of the Citation that

 the City took the position that there was “construction of a structure or addition or

 alteration to a structure.” The Motion to Remand does not identify what construction

 was a violation of Sec. 29-2. When Ms. Porretto’s counsel requested information

 which should the City is obligated to produce if the Citation is criminal, the City

 never responded. See, ECF 12.

        As noted in other pleadings, the City puts its ordinances on

 www.municode.com, but Ms. Porretto and her counsel both have downloaded



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 versions of Sec. 29-2 which were then changed after the “modified” date listed on

 www.municode.com. Solely for the purposes of responding to the Motion to

 Remand and assuming arguendo with a full reservation of rights to dispute whether

 Sec. 29-2 was adopted in accord with the City Code and State law with proper notice

 and publication, Ms. Porretto will refer herein to the www.municode.com version

 of Sec. 29-2 and Ord. 19-012 purportedly updated on March 5, 2021

 [https://www.galvestontx.gov/DocumentCenter/View/9948/City-of-Galveston-

 Dune-Protection-and-Beach-Access-Plan-Certified]

 Below is an excerpt from the beginning of Sec. 29-2:




 Sec. 29-2.




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The City made allegations in the Motion to Remand which are inconsistent with Sec. 29-

2. The highlights above are to point out some, but not all, of those inconsistencies

        First, the ordinance on its face states the purpose is to deal with natural hazards from

storm, flood and shoreline erosion. However, there is nothing in the ordinance to address

the unnatural hazards inflicted by the Park Board or others on Ms. Porretto’s property, such

as strategic flooding and manufactured erosion under color of law with a permit from the

City.

        Second, it is noted that one of the reasons for the ordinance is to protect commerce.

However, the Citation to Ms. Porretto could only be intended to disrupt her commerce

contrary to the 2015 Judgment issued in her favor which explicitly provides that she is

vested with the authority to manage all commercial operations on the property. The City

knows Ms. Porretto’s commercial operations are derived from user fees from parking and

concessions.

        Third, the ordinance provides that its purpose is to address the “health, safety and

general welfare” of the public. Sec. 29-2 notes this priority twice in the opening paragraphs

of the ordinance. As such, there is no basis for the City to allege TEX. LOC GOV’T CODE

ANN. §54.017 and 54.019 do not apply to Sec. 29-2 or that Sec. 29-2 is not a heath and

safety ordinance. The penalties are civil in nature and there is no penalty in the ordinance

that provides for a sentence or imprisonment. See, City of Neodesha v. BP Corp. N. Am.

Inc., 176 F. Supp. 3d 1233 (D. Kan. 2016) (BP removed citations to Federal Court asserting

diversity. The case may be the most on point to this case as BP had ongoing issues with

the City. The Court overruled the City’s motions to remand).


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       Fourth, the ordinance provides that State law will control over City Code which will

be important when discussing the purported penalties under Sec. 29-2.

       2.     The City alleges the following:




       ECF 10, p. 6.

       Ms. Porretto denies this allegation. Sec. 29-2(p) states as follows:




The City’s Citation and Motion to Remand make no showing that the General Land Office

received notice of the Citation in 24 hours. If the City failed to provide the notice, then it

failed to comply with the penalties section. The Motion to Remand adds words not in the

text of the ordinance and legal conclusions to assert 29-2(p) provides that all of the

penalties of Sec. 29-2(p) apply versus the plain meaning which provides that one or more



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may apply. The Citation would have to identify the specific subsection being relied upon

in the Citation to put a citizen on notice of which penalty it was seeking. The Citation does

not reference any section of 29-2(p) .

        Also, the penalties section of the ordinance begins with the reference that 31 TAC

15.9 provides the penalties. As such, 29-2(p)(1) is inconsistent with 31 TAC 15.9 because

31 TAC 15.9 only provides for civil and administrative penalties. This is consistent with

Local Government Code Chapter 54. Further, 29-2(p)(2) states the penalty may be a civil

penalty.

        Finally, Sec. 29-2 in the introduction provides State law governs over the City Code.

As such, since 31 TAC 15-9 1 is specifically incorporated in 29-2(p) and is a state

regulation, the fact that it only provides for civil or administrative penalties should support

that the Citation is civil in nature.

        3. The City alleges the following:




           ECF 10, p. 6.


1
 Also, notably, Sec. 29-2(p)(2) could be fined up to $1000. However, the City’s Dune Protection and Beach Access
Plan which is referenced in Sec. 29-2 provides for fines up to $2000 so does 31 TAC 15.9.


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        Ms. Porretto denies this allegation. First, nothing on the face of the Citation indicates

it is a misdemeanor citation. A citizen should not have to parse words and guess whether

the Citation is intended to be a complaint or criminal for a code violation. If the City wanted

to issue a Citation for misdemeanor, it could have specifically cited to 29-2(p)(1) but it did

not do that. It cited to 29-2 generally and wanted Ms. Porretto to guess why she was getting

the Citation. On information and belief, the police officer’s video camera will show that he

did not know the basis for the Citation. It is the most basic level of due process to let

someone know the basis for the Citation.

     On information and belief, the police officer who served the Citation did not indicate

it was subject to a criminal misdemeanor charge. The Citation was apparently was not

designed for an alleged violation of Sec. 29-2 given all the cross outs.

     In addition, the City misrepresents that Ms. Porretto promised to appear in municipal

court by cooperating with the police officer and signing the Citation. Below is an excerpt

from the Citation:




Ms. Porretto agreed to appear; she did not agree to appear in municipal court. The area she


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signed does not refer to the municipal court. Ms. Porretto fulfilled her “promise.” Ms.

Porretto made an appearance in this court with the filing of the notice of removal which

was a written document contesting the Citation in detail. Further, she appeared by filing an

Answer, Affirmative Defenses and Counterclaims and other documents.

       Contrary to the Motion to Remand, the Citation language states that the penalties

could be one or several. Nothing on the Citation provides for an agreement that all apply.

There is nothing in the section of the Citation that Ms. Porretto signed referencing a

misdemeanor or municipal court. Ms. Porretto has not been provided the video from the

officer cam when she was served the Citation or any other records she requested related to

the Citation.   The City prosecutors should not be able to lie behind the long refusing to

produce records and then filing a Motion to Remand introducing facts not present on the

face of the Citation.




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                 THE CITATION ISSUED TO MS. PORRETTO
         WAS NOT THE STANDARD FORM CITATION AND IS DEFICIENT

          Ms. Porretto was issued the Citation pasted below:




Now, compare the Citation issued to Ms. Porretto with one issued to Craig Brown which

is passed below. The Citation was issued long before he was Mayor. Note the differences.

Mayor Brown publicly acknowledged in a video that the Citation was valid. In the version

posted below, his date of birth and driver’s license information has been redacted 2:




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    The Citation is a matter of public knowledge and was posted on social media.

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       Everything about the Citation Ms. Porretto was issued was out of the ordinary and

did not comply with normal procedure showing she was targeted.

                                   LAW AND ARGUMENT

       Ms. Porretto could not find a case on point with the facts of this case, include the

following: 1) Ms. Porretto has a pending federal complaint asserting allegations against the

City and other government defendants for takings, manipulating erosion data, harassment,

retaliation, and flooding the owner’s property, etc; 2) the pending federal complaint arose,

in part, from damages to Ms. Porretto’s beachfront property by the Park Board with

approval from the City, including damage and use of Ms. Porretto’s property which was

deliberately concealed from the Bankruptcy Court at the time it occurred while the property

was subject to Bankruptcy Court administration and the automatic stay; 3) a 2015 Judgment

which was not appealed unequivocally asserted that sections of Ms. Porretto’s beachfront



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property was accreting for the prior 24 years and included a survey of her property which

differed from surveys the government used and uses related to Sec. 29-2; 4) despite this

2015 Judgment, the City and others continued to use false information contrary to the 2015

Judgment describing Porretto’s property which chills the development and/or sale of the

property and means the City is putting knowing false statements in the public record which

is a criminal violation; 5) the City amended ordinances such as 29-2 with the knowingly

false information several times after the 2015 Judgment; 6) the City made some

amendments to exclude some but not all of Ms. Porretto’s property from Sec. 29-2 as

shown by the appendixes (See, ECF 11); 7) while the related federal litigation is pending,

the City issues a “Citation” on a form different from Citations given to others where the

Citation provides no probable cause, no affiant supporting the Citation, and no language

that the Citation is a Complaint with nothing regarding the alleged charges other than a

broad reference to Sec. 29-2.

       It appears this may be the first time a private land owner was issued a Citation by

the City under Sec. 29-2. If accurate, then it is highly probative that the first time the City

issues a Citation under 29-2 it lists the prosecutor as the witness and attempts to use a form

“Citation” which is not directly applicable to the issues. Further, the Citation is also

deficient given it does not provide what “work” was a violation; where the work occurred

in order to determine how the distance requirements of Sec. 29-2 apply; and, was

apparently issued to intefer with Ms. Porretto’s rights to control all commercial operations

on the property from 6th to 10th Street under the 2105 Judgment.




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          Removal is Proper – the Citation is Civil in Nature

          Under Texas law, courts construe municipal ordinances in the same manner that

they construe statutes." RBIII, LP v. City of San Antonio, SA-09-CV-119-XR, 2010 U.S.

Dist. LEXIS 91751, 2010 WL 3516180, at *4 (W.D. Tex. Sept. 3, 2010) (citing Bd. of

Adjustment of City of San Antonio v. Wende, 92 S.W.3d 424, 430 (Tex. 2002).

"Texas courts 'apply a "strict rule of construction" to statutory enforcement schemes and

imply causes of action only when the drafters' intent is clearly expressed from the language

as written.'" Id. Federal law determines whether a state court action is removable under

the federal removal statute. 14 Charles Alan Wright & Arthur R. Miller, Federal Practice

& Procedure § 3721, at 36-37 (4th ed. 2009 & Supp. 2010); see Mach v. Triple D. Supply,

LLC., 773 F. Supp. 2d 1018,

          A similar case where the District Court overruled a City’s motions to remand is the

case which appears most analogous to this case and is styled, City of Neodesha v. BP Corp.

N. Am. Inc., 176 F. Supp. 3d 1233 (D. Kan. 2016). In the City of Neodesha case, the City

had longstanding disputes with BP, similar to the City and Ms. Porretto. The City took

aggressive action to amend the Code and issue citations to BP. In that case, BP argued the

Court had diversity jurisdiction. Similarly, in this case the Court has federal question

jurisdiction.

          Porretto satisfied the requirements of providing a short and plain statement in favor

of removal. ECF 1. The Notice of Removal provided the basis for finding it was civil in

nature.




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       Further, by pointing out the factual inconsistencies in the Motion to Remand with

the ordinance and Citation, Ms. Porretto has met her burden of showing that the Citation,

on its face, when read with the Code, gives rise on its face to Federal constitutional claims

of lack of due process and equal protection, abuse of process, as well as constitutional

challenges to the ordinance itself which includes overbreadth, vague, and illegality by

including false statements in the public record. See, ECF 4 and 11.

       The Motion to Remand asserts allegations for the first time that the basis for the

Citation was that heavy equipment was on Ms. Porretto’s property and that alone

constitutes “construction” of a “structure” and requires a beachfront construction certificate

in violation of Sec. 29-2 and asserts such conduct is a misdemeanor. Nothing in the Citation

provides notice that this is the alleged violation. Sec. 29-2 is multiple pages. Now, the City

asserts for the first time asserts the Citation was issued for one small excerpt it culled out

of Sec. 29-2.

       Even in filing the Motion to Remand, the City is still concealing where the alleged

“construction” allegedly occurred and refers to “so called” Porretto Beach. Ms. Porretto

owns numerous beachfront tracts and the rights attendant to those tracts are different. The

City knows this because it relies upon the judgment in Porretto v. Tex. Gen. Land Office,

No. 02CV0295 (212th Dist. Ct., Galveston County, Tex. Apr. 9, 2015) (“2015 Judgment”)

to assert that alleged work was done within 1000 feet of public beach.

       Even assuming arguendo that Sec. 29-2 applies to Ms. Porretto’s property, the

Motion to Remand and the Citation both conceal the location where the alleged violation

occurred which is necessary to determine if it was within 1000 feet of public beach. In


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addition, the purported public easement that the City is relying upon to support that Sec.

29-2 applies was further limited by a reservation of rights retained by Ms. Porretto related

to 6th to 10th Street.

       The City cites to Woodard-Hall v. S.T.P. Nuclear Operating Co., 473 F. Supp. 3d

740 (S.D. Tex. 2020) which is not on point with the facts of this case. Woodard-Hall v.

STP Nuclear Operating Co., was not a case where there was a facially deficient Citation

where the prosecutor and the witness are one and the same giving rise to United States

Constitutional issues of due process and equal protection, at a minimum, on the face of the

Citation. It is not a case where the Citation is unduly overbroad without any notice to the

Defendant as to what section of the Code was violated by doing what and where the

violation occurred. As noted, City of Neodesha v. BP Corp. N. Am. Inc., 176 F. Supp. 3d

1233 (D. Kan. 2016) is the case that seems most germane to the facts of the present case

and is a case where the City’s motions to remand were overruled. (diversity case but

similar issues with ongoing disputes and City issuing improper Citations which were

removed and Court denied remand).

       Sec. 29-2 is Overbroad and/or Vague

       The Motion to Remand illustrates the overbroad nature of Sec. 29-2. In the Motion

to Remand, the City in essence is arguing that heavy equipment on Ms. Porretto’s property

subjects her to a criminal Citation. Alleging that the presence of heavy equipment on

someone’s property is a violation of the ordinance shows the sheer overbreadth nature of

the ordinance, especially given parts of the ordinance exclude some of Ms. Porretto’s

property from the ordinance but not all. See, ECF 11. Sec. 29-2 offends the constitutional


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principle that a governmental purpose to control or prevent activities constitutionally

subject to state regulation may not be achieved by means which sweep unnecessarily

broadly and thereby invade the area of protected freedoms" Zwickler v. Koota, 389 U.S.

241, 249-250 (1967).

       Conversely, when a neighboring property owner had a contractor on her property

with heavy equipment which was being used to dig up and take sand without Ms. Porretto’s

permission, no citation was issued to the neighboring property owner for theft, trespassing

or work without a permit under Sec. 29-2. Ms. Porretto also did not receive a Citation for

the unauthorized use of heavy equipment on her property. The lack of a Citation to the

other property owner shows the arbitrary and capricious enforcement. The arbitrary

enforcement supports the claim that the ordinance is unconstitutional for vagueness.

       The Motion to Remand should be denied. Sec. 29-2 should be found

unconstitutional and void given it is overbroad.

       Sec. 29-2 Does Not Apply to Porretto’s Properties Because the Title Goes to
       the Menard Act


       Ms. Porretto has already argued that applying regulations in prior litigation on her

ordinary use of her property that are not applicable to all private property owners is

unconstitutional and without any basis in law given her title to her properties track back to

the Menard Act. In prior litigation, the claims were deemed not ripe on remand from the

Texas Supreme Court. Now that the City has alleged it is issuing criminal Citations under




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Sec. 29-2, the claim that Sec. 29-2 is unconstitutional and inapplicable to Ms. Porretto is

ripe.

        The Texas Supreme Court in Texas Propane Gas Association v. The City of

Houston, 622 S.W.3d 791 (Tex. 2021) provides that "civil courts have jurisdiction to enjoy

or declare void an unconstitutional penal ordinance when 'there is the threat of irreparable

injury to vested property rights.'" Id. (quoting Morales, 869 S.W.2d at 945).


                                     CONCLUSION

        Ms. Porretto requests that the Motion to Remand be denied if not stricken and requests

all other relief the Court deems fair and equitable. In addition, Ms. Porretto would request that

the Court provide a scheduling order to allow for discovery if the Court is inclined to grant the

Motion to Remand given the factual allegations in the Motion to Remand are not in the Citation

and have not been provided to Ms. Porretto.


                                                        /s/Deirdre Carey Brown


                                                    Deirdre Carey Brown, pllc
                                                    Texas Bar No. 24049116
                                                    FORSHEY & PROSTOK, LLP
                                                    1990 Post Oak Blvd., Suite 2400
                                                    Houston, Texas 77056
                                                    Ph 832-536-6910
                                                    Fax 832-310-1172
                                                    dbrown@forsheyprostok.com
                                                    Counsel for the Defendant




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                           CERTIFICATE OF SERVICE

        I hereby certify that a copy of this OBJECTION TO MOTION TO REMAND was
served to the registered ECF users for the case. A courtesy copy was emailed to the parties below:

       Via E-Mail
       Autumn Dawn Highsmith            autumn.highsmith@oag.texas.gov

       Barry Abrams        babrams@BlankRome.com

       Catherine Bennett Hobson          katie.hobson@oag.texas.gov

       Deirdre Carey Brown         dbrown@forsheyprostok.com

       Jason Bradley Binford        jason.binford@oag.texas.gov

       Jessica Amber Ahmed          amber.ahmed@oag.texas.gov,

       Shelly Magan Doggett          shelly.doggett@oag.texas.gov,


                                               / s/ Deirdre Carey Brown
                                               Deirdre Carey Brown




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